       Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 1 of 27




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ANNIE LOIS GRANT, et al.,

       Plaintiffs,
                                        CIVIL ACTION
v.
                                        FILE NO. 1:22-CV-00122-SCJ
BRAD RAFFENSPERGER, et al.,

       Defendants.




     SUPPLEMENTAL BRIEF REGARDING SUMMARY JUDGMENT
            BRIEFING BASED ON ALLEN v. MILLIGAN
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 2 of 27




                              INTRODUCTION

      As much as the parties and this Court anticipated the Supreme Court’s

ruling in Allen v. Milligan, Case No. 21-1086, 2023 WL 3872517 (U.S. June 8,

2023), the decision provided far less direction for the future of this case than

expected because it did not alter or clarify the law of Section 2. Many of the

arguments made by Alabama that were rejected by the majority are not raised

by Defendants in this case. On other points, such as the impact of race on

illustrative plans, only four Justices agreed on any particular approach.

Alabama also did not advance the substantive arguments raised on several

critical points contested in this case, including the issue of partisan

polarization.

      Ultimately, the ruling in Allen underscores a key issue in Voting Rights

Act cases—the facts matter because the application of Gingles remains

“peculiarly dependent on the upon the facts of each case.” Roberts,1 p. 11

(quoting Thornburg v. Gingles, 478 U.S. 30, 79 (1986)). This Court must still

carefully apply the relevant law to the facts of this case to determine whether




1 For ease of reference, this brief references the PDF slip opinion released by

the Supreme Court by the name of the Justice and page of that Justice’s
opinion. That opinion is available at
https://www.supremecourt.gov/opinions/22pdf/21-1086_1co6.pdf

                                       1
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 3 of 27




the lack of electoral success Plaintiffs claim is occurring is because they are

numerical minorities who lose elections in a majoritarian system or because

they are facing vote dilution “on account of race or color.” Holder v. Hall, 512

U.S. 874, 914 (1994) (Thomas, J., concurring). The undisputed material facts

demonstrate that Plaintiffs have not put forward sufficient evidence

demonstrating they are facing vote dilution on account of race or color as a

result of Georgia’s redistricting plans. Accordingly, this Court should grant

judgment in favor of Defendants or, at the very least, deny Plaintiffs’ motion

for summary judgment.

    DIFFERENCES IN ALLEN AND DEFENDANTS’ ARGUMENTS

      To review the impact of Allen, it is first important to note the arguments

Alabama advanced that the majority rejected, but which are not raised in this

case. Defendants are not arguing for the map-comparison test sought by

Alabama. Roberts, pp. 27-28. Nor are Defendants arguing for an intent

standard in map design or that Section 2 does not apply to single-member

redistricting. Roberts, pp. 29-34. Nor are Defendants seeking to overturn

Gingles—but rather to apply it faithfully. Kavanaugh, pp. 1-2.

      The complete lack of any discussion about partisanship driving voting

patterns at the Gingles preconditions phase is also a huge difference in Allen

and this case. The only reference in the opinions to primary elections is when

                                       2
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 4 of 27




Justice Thomas explains that the plaintiffs offered evidence of racial voting

patterns in the Republican primary—unlike this case. Thomas, pp. 26-27.

Thus, Alabama apparently did not press any issues at the Supreme Court

related to the impact of race and partisanship as Defendants do here.

      Further, Alabama did not contest any of the factual findings of the

district court, instead (apparently) opting to make legal arguments only on the

appeal. Roberts, pp. 14-15.

      The difference in the arguments by Alabama and Defendants limits the

benefit of Allen in this case, because the major issues ruled on by the majority

are not at issue in this case. And especially in light of the apparent confusion

over Alabama’s actual arguments (see, e.g., Alito, p. 9), and the clear-error

review standard (Roberts, pp. 14-15), the opinions do not break new ground in

a way that materially assists this Court with resolving these cases.

                              APPLYING ALLEN

      Turning to the points where Allen offers at least some direction in this

case, it is important for this Court to carefully review what the Supreme Court

said and especially what portions are binding precedent.




                                       3
       Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 5 of 27




I.    The first Gingles precondition.

      A.    The Allen opinions on the first Gingles precondition.

      First, the Justices disagreed with each other about the proper

application of the first Gingles precondition, which was apparently the primary

focus of Alabama’s argument. Chief Justice Roberts’ opinion commanded five

votes for all sections except for III–B–1, which addressed a similar issue to that

raised by Defendants in this case—the question of how to assess racial

predominance in the illustrative plans. That portion received only four votes.

Justice Thomas’ dissent likewise received four votes for Parts II–A and II–B,

which addressed racial predominance in the illustrative plans and questions

related to proportionality. As discussed below, all of the various comments

made by the pluralities on this point are relevant to the pending motions.

      All the Justices who touched the topic agree that race cannot

predominate in the creation of illustrative plans, even if “the line between

racial predominance and racial consciousness can be difficult to discern.”

Roberts, p. 23; compare Thomas, pp. 10-11. But no method for determining

where that line is drawn garnered a majority of votes on the Court.

      Justice Thomas, joined by three others, would have determined that

Section 2 plaintiffs “cannot satisfy their threshold burden of showing that a

reasonably configured alternative plan with a proposal that could only be


                                        4
         Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 6 of 27




viewed as a racial gerrymander if enacted by the State.” Thomas, p. 21. The

four Justices in that portion of the dissent criticize the Allen plaintiffs’ map-

drawers for prioritizing “race over neutral districting criteria” even when the

map-drawers testified that they did not make this prioritization. Compare

Thomas, p. 14 with Roberts p. 23.

         In contrast, Chief Justice Roberts, also with three other votes, was

willing to accept the testimony of Bill Cooper (one of plaintiffs’ mapping

experts), over the relative lack of evidence from Alabama of racial

predominance. Roberts, p. 23-24. But the Chief Justice’s opinion acknowledges

that the eleven illustrative maps in that case were “districting maps that

Alabama could enact.” Roberts, p. 12. Justice Kavanaugh does not address the

issue.

         The majority noted that the only apparent counterarguments by

Alabama to the illustrative plans was that they divided the Gulf Coast region,

which was a community of interest in the southwest area of the state, and that

the adopted plan performed better on core retention. Roberts, pp. 12-13. The

majority then relied on the testimony about the community-of-interest nature

of the Gulf Coast and the fact that a community of interest would be divided

under either the state’s plan or the illustrative plans. Roberts, p. 13. Notably

absent from the portion of the Chief Justice’s opinion that garnered five votes

                                       5
       Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 7 of 27




is any analysis of the particular boundaries involved—only the general

arguments made by Alabama.

      But the approaches taken by both Chief Justice Roberts and Justice

Thomas demonstrate that race predominated in the creation of the illustrative

plans in this case. Unlike Alabama, Defendants here do not argue that every

illustrative plan hits a racial target. Roberts, p. 25. Instead, Defendants focus

particularly on boundaries and design of the illustrative plans, all of which

would be considered racial gerrymanders if enacted by the State—and thus

maps the State could not enact, unlike the maps in Allen. Roberts, p. 12.

      B.    The illustrative plans in this case.

      When Mr. Esselstyn was creating his illustrative maps, he turned on

features in the software to indicate where Black individuals were located,

including using it to inform decisions about which populations were included

and excluded from districts. [Doc. 192, ¶ 59]. He also focused on areas with

higher concentrations of Black voters for looking where additional districts

could be drawn. Id. at ¶ 60. Unlike the legislature, Mr. Esselstyn did not have

any political data available to him. Id. at ¶ 61. His county splits were often

racial in nature. Id. at ¶ 62. He also did not review any public comment until

after drafting his preliminary injunction plans. Id. at ¶ 63. Mr. Esselstyn’s




                                       6
       Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 8 of 27




illustrative plans contained the maximum number of Black districts he drew

for any legislative plan in Georgia. Id. at ¶ 64.

      If the legislature had used racial shading, did not use political data, and

drew without reviewing any public comments, it would be accused of racial

gerrymandering—exactly as it has been in the three-judge panel cases. There

is no indication in the Allen decision that Alabama advanced any arguments

about the nature of the drawing process beyond its proposed race-neutral,

alternative benchmark. Under the facts here, clearly Plaintiffs “cannot satisfy

their threshold burden of showing that a reasonably configured alternative

plan” by presenting a plan that would be a racial gerrymander if enacted by a

state. Thomas, p. 21.

      In order to create the additional majority-Black Senate districts on the

illustrative plan, Mr. Esselstyn modified 22 of the 56 state Senate districts.

[Doc. 192, ¶ 66]. To create Senate District 23, Mr. Esselstyn split counties

based on race—in each case where a county is split, the higher-Black-

percentage portion of the county is included in illustrative District 23, while

the lower-Black-percentage portion of the county is outside of illustrative

District 23. Id. at ¶ 67.

      To create Senate District 25, Mr. Esselstyn could not recall why he

decided to connect Clayton and Henry Counties in a single district. [Doc. 192,

                                        7
       Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 9 of 27




¶ 68. In doing so, he significantly altered Senate District 10 to include areas

with significant white populations and lengthening the district to measure 43

miles from north to south. Id. at ¶ 69. As a result, the only county in Senate

District 10 (a majority-Black district) with a majority-Black voting age

population is DeKalb County. Id. at ¶ 70.

      To create Senate District 28, Mr. Esselstyn connected more-urban areas

of Clayton County with more-rural areas in Coweta County. [Doc. 192, ¶ 71].

He was not trying to ensure that the district had areas in common with each

other. Id. at ¶ 72. He also made changes to Senate District 35 that connected

more-rural areas of Paulding County to Fulton County. Id. at ¶ 73.

      Further, the illustrative Senate plan does not comply with traditional

redistricting principles when compared to the enacted Senate plan. It has

higher total population deviations than the enacted plan. [Doc. 192, ¶ 74]. The

illustrative Senate plan also splits more counties and precincts than the

enacted plan. Id. at ¶ 77. This is distinctly different from the Allen illustrative

plans. Roberts, p. 12.

      Likewise, in order to create the additional House districts, Mr. Esselstyn

modified 25 of the 180 state House districts. [Doc. 192, ¶ 79]. Of the new

districts created, illustrative House Districts 64, 117, 145, and 149 are all less




                                        8
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 10 of 27




than 52% Black voting age population, with several barely above 50%. 2 Id. at

¶ 80. To create illustrative House District 64, Mr. Esselstyn connected parts of

Paulding and Fulton counties but could not identify any basis for connecting

those areas. Id. at ¶ 82. To create illustrative House District 74, Mr. Esselstyn

connected heavier concentrations of Black individuals in Clayton County with

more heavily white portions of Fayette County, while lowering the

compactness of the surrounding districts. Id. at ¶ 83. To create illustrative

House District 117, Mr. Esselstyn connected parts of districts from Clayton

County to rural areas and was unable to identify any community that was

being kept whole in District 117. Id. at ¶ 84. To create illustrative House

Districts 145 and 149 in Macon, Mr. Esselstyn lowered the Black percentages

of the existing Macon districts to make Black population available to run into

other counties and raise the Black percentages in Districts 145 and 149. Id. at

¶ 85. As a result, all four districts that include portions of Macon are all very

close to 50% Black VAP. Id. at ¶ 87. If the State had drawn districts in this




2 In contrast, illustrative House Districts 77 and 86 are both greater than 75%

Black voting age population, which Mr. Esselstyn called accidental but
hesitated to characterize as packing. [Doc. 192, ¶ 80].


                                       9
        Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 11 of 27




manner, it likely would be accused of racial gerrymandering to achieve a

specific racial goal.

        Further, the illustrative House plan does not comply with traditional

redistricting principles when compared to the enacted House plan. It has

higher total population deviations than the enacted plan. [Doc. 192, ¶ 88]. The

illustrative House plan also splits one more county and one more precinct than

the enacted plan. Id. at ¶ 91. Like the Senate plan, these differing metrics are

not how the Allen illustrative plans were configured. Roberts, p. 12.

        Mr. Esselstyn’s illustrative plans in this case are thus categorically

different than the plans in Allen. They split more counties, have higher

deviations, and have features that are unexplainable on grounds other than

race.

        C.   Applying Allen to the first Gingles precondition.

        Defendants agree with how Justice Alito proposes to address the issue—

that a plaintiff must “show at the outset that such a[n additional majority-

minority] district can be created without making race the predominant factor

in its creation.” Alito, p. 5. And this is Plaintiffs’ burden. Id. This is also

consistent with Chief Justice Roberts’ approach, that the illustrative plans had

to be maps the state could enact. Roberts, p. 12.




                                      10
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 12 of 27




      Because the illustrative plans in this case could not be enacted by the

State, the Plaintiffs have not put forth evidence sufficient to satisfy the first

Gingles precondition. As a result, Plaintiffs have failed to carry their burden,

and Defendants are entitled to judgment as a matter of law.

II.   The third Gingles precondition.

      The majority opinion does not provide much direct guidance for lower

courts on a plaintiff’s evidentiary burden in satisfying the third Gingles

precondition, because that precondition was not squarely at issue in Allen.

Unlike Defendants here, Alabama conceded that the third precondition was

satisfied, so there was no reason for the District Court or the Supreme Court

to address any other arguments. But to the extent the majority says anything

about the third Gingles precondition (racial polarization), it supports

Defendants here.

      A.    Chief Justice Roberts’ majority opinion reinforces the
            Defendants’ interpretation of the evidence required to
            establish the third Gingles precondition.

      Chief Justice Roberts recounts the history of the events leading to the

1982 amendments to Section 2 of the Voting Rights Act. And he focuses on City

of Mobile v. Bolden, the case that catalyzed changes to the Act proposed and

adopted by Congress just two years later. 446 U.S. 55 (1980). The majority

noted the sharp disagreement surrounding the Bolden decision in Congress,


                                       11
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 13 of 27




with one side of the debate clamoring for a rework of the statutory language to

allow for an “effects” test, and others expressing concern that such a test would

create a right to proportional representation among the races in elected bodies,

thereby entrenching “more, not less, racial and ethnic polarization.” Roberts,

p. 4. (quoting Wall Street J., Jan. 19, 1982, p. 28). This initial recognition of

racial polarization is appropriate, because returning to the Bolden case as

Chief Justice Roberts did demonstrates how policymakers viewed the term

“racial polarization” at the time the amendments were passed. Thus, to

understand the analysis in Allen, we have to review Bolden.

            1.    The Bolden case--from trial court to Supreme Court
                  and through the 1982 amendments it inspired--offers
                  support for Defendants’ view on racial polarization.

      Though not using the magic words of “racial polarization,” the Bolden

trial court provides a comprehensive definition of racial polarization, offering

a view of what a plaintiff is required to show in order to demonstrate it:

      In the 1960’s and 1970’s there has been general [racial]
      polarization in the white and black voting. The polarization has
      occurred with white voting for white and black for black if a
      white is opposed to a black, or if the race is between two white
      candidates and one candidate is identified with a favorable vote in
      the black wards, or identified with sponsoring particularized black
      needs. When this occurs, a white backlash occurs which usually
      results in the defeat of the black candidate or the white candidate
      identified with the blacks.




                                       12
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 14 of 27




Bolden v. Mobile, 423 F. Supp. 384, 388 (S.D. Ala. 1976) (emphasis added).

Thus, in the period before the 1982 amendments, the race of the candidate and

corresponding voter behavior was paramount to a polarized-voting analysis. If

a Black candidate is running against a white candidate, racial polarization

occurs “with white voting for white and black for black if a white is opposed to

a black....” Id. We can also see that when the only option to voters is a choice

between white candidates, race still underlies the racial polarization inquiry.

That is because the trial court first concluded it must determine which white

candidate is associated with “the black wards” or “identified with sponsoring

particularized black needs.” If such candidate is readily identifiable, the court

then must determine whether “a white backlash” occurred resulting in the

usual defeat of the Black-preferred white candidate. Id. The use of the term

“backlash” here is important because it suggests a change or alteration in

voting patterns by a white majority that occurs on account of race. In other

words, it is because the candidate is Black, or it is because a white candidate

is identified with Black interests, that gives rise to the inference of racial

polarization in differential racial bloc voting patterns. It is not merely

differential racial voting patterns standing alone.

      On appeal, the Fifth Circuit agreed with the factual finding that the

plaintiffs presented sufficient evidence to show racial polarization. “No black

                                       13
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 15 of 27




had achieved election to the city commission due, in part, to racially polarized

voting of an acute nature.” Bolden v. Mobile, 571 F.2d 238, 243 (5th Cir. 1978).

The Supreme Court also accepted the trial court definition: “[T]he District

Court based its conclusion of unconstitutionality primarily on the fact that no

Negro had ever been elected to the City Commission, apparently because of the

pervasiveness of racially polarized voting in Mobile.” Bolden, 446 U.S. at 71.

      Of course, the presence of racially polarized voting did not alter the

outcome in Bolden because the Court determined that intent was necessary to

a Section 2 case, and it was against this backdrop that Congress enacted the

1982 amendments to override the Court’s decision in Bolden, as Chief Justice

Roberts explained. But neither the text of amended Section 2 nor the Senate

Report discussing the amendment process purport to alter or recast what was

understood to be racially polarized voting at the time. Accordingly, the Bolden

trial court’s definition of racial polarization remains undisturbed. And this

definition is in line with how the Supreme Court viewed it almost ten years

earlier in Whitcomb v. Chavis, which the 1982 amendments sought to restore

after Bolden. 403 U.S. 124 (1971).

      [T]he failure of the [minority residents] to have legislative seats in
      proportion to its population emerges more as a function of losing
      elections than of built-in bias against poor [minorities]. The voting
      power of [minority] residents may have been “cancelled out” as the



                                       14
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 16 of 27




      District Court held, but this seems a mere euphemism for political
      defeat at the polls.

Id. at 153.

      Of course, Justice Brennan attempted in Gingles to change the definition

of racially polarized voting into one concerned purely with the mathematical

results of voting patterns, but his view was specifically rejected by five Justices

on this point. See, e.g., Gingles, 478 U.S. at 83 (White, J., concurring) (“I doubt

that this is what Congress had in mind in amending § 2 as it did, and it seems

quite at odds with the discussion in Whitcomb . . .”); see also, id. at 101

(O’Connor, J., concurring the judgment) (“I agree with Justice White that

Justice Brennan’s conclusion that the race of the candidate is always irrelevant

in identifying racially polarized voting conflicts with Whitcomb”). Instead,

Justice White (who dissented in Bolden and authored the majority opinion of

the Court in Whitcomb) specifically would have held that racially polarized

voting requires a showing of racial causation. Id.

              2.   The Roberts majority opinion reaffirms the vitality of
                   the Whitcomb and Bolden definitions of racial
                   polarization in its brief discussion of the third
                   Gingles precondition.

      After discussing Bolden and the subsequent amendments, the majority

opinion in Allen noted that “[t]he third [Gingles] precondition, focused on

racially polarized voting, ‘establish[es] that the challenged districting thwarts


                                        15
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 17 of 27




a distinctive minority vote’ at least plausibly on account of race.” Roberts,

p. 11 (emphasis added) (citing to Growe v. Emison, 507 U.S. 25, 40 (1993)). It

is significant that the Chief Justice recognizes the racial causation element not

just in the context of the broader Section 2 inquiry, but also within the discrete

inquiry into whether the plaintiffs have proven the third Gingles precondition.

The existence of this causal element harkens back to the Bolden trial court’s

definition of racial polarization that requires a “white backlash,” i.e., a majority

voting bloc motivated in some identifiable way “on account of race.”

            3.     The majority opinion could not affect or change its
                   third Gingles precondition jurisprudence because the
                   issue was not before the Court in any meaningful way.

      But the next mention in the majority opinion of the third Gingles

precondition explains why the Supreme Court did not offer any additional

clarity on it—because there was “no reason to disturb the District Court’s

careful factual findings, which are subject to clear error review and have gone

unchallenged by Alabama in any event.” Roberts, p. 14 (emphasis added).

And this lack of dispute removed from the majority decision any discussion of

the issue raised by Defendants here. 3



3 Although it should not matter, even in the district court, Alabama hardly

pressed a partisan polarization argument, as it conceded that voting was
racially polarized. The Alabama defendants’ expert “testified that he and [the

                                         16
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 18 of 27




      So, unlike here, there was no consideration of what kind of statistical

evidence is necessary at the third Gingles precondition to demonstrate racial

polarization in the electorate as distinct from partisan polarization. Put

differently, there was no discussion of whether the data supported the position

that Black voters were losing at the polls due to bloc voting “at least plausibly

on account of race,” (Roberts, p. 11) or whether those losses simply reflected “a

mere euphemism for political defeat at the polls.” Whitcomb, 403 U.S. at 153.4

      Next, the Supreme Court credited the District Court with “faithfully

appl[ying]” its precedents. Roberts, p. 15. And this is unsurprising because,

unlike Defendants here, Alabama’s litigation strategy was apparently that




plaintiffs’ expert] ‘both found evidence of racially polarized voting in Alabama.”
Singleton v. Merrill, 582 F. Supp. 3d 924, 991 (N.D. Ala. 2022). And “[t]he only
evidence Defendants offer to support their assertion that party, not race, may
be the real issue is the recent election of a Black Republican, Kenneth Paschal,
to the Alabama House from a majority-white district.” Merrill, 582 F. Supp. 3d
at 1019. By contrast, Defendants here have pressed the point that partisan
polarization best explains the data at every opportunity and articulated the
insufficiency of the statistical analysis provided by Plaintiffs, which only shows
bloc voting on account of party in Georgia elections.
4 Plaintiffs may suggest that the causal elements of racially polarized voting

identified in Whitcomb, White, Bolden, and the majority of justices in Gingles
means that they can satisfy their evidentiary burden as to the third Gingles
precondition by an inference of racial causation. But, at least in the Eleventh
Circuit, Section 2 plaintiffs “must be careful not to infer that racial targeting
is, in fact, occurring based solely on evidence of partisanship.” League of
Women Voters of Fla. Inc. v. Fla. Sec’y of State, 66 F. 4th 905, 924 (11th Cir.
2023)

                                       17
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 19 of 27




“Gingles must be overruled.” Roberts, p. 25 (four justices); see also,

Kavanaugh, p. 1 (“[T]he upshot of Alabama’s argument is that the Court

should overrule Gingles.”). But as Defendants have repeatedly noted in

briefing and at oral argument: Gingles remains the standard for Section 2

cases, and Defendants’ legal analysis is perfectly in line with existing

precedent. The key is that courts must give effect to all the aspects of the

Gingles opinion (including the concurring opinions) and take into account still

relevant (and controlling) pre-amendment Supreme Court precedent.

      B.    The third Gingles precondition operates as a temporal
            limitation on the reach of Section 2, thus assuaging
            concerns raised by Justice Kavanaugh in his concurring
            opinion.

      Justice Kavanaugh references an argument not made by Alabama—a

“temporal argument” that calls into question the constitutionality of Section 2,

which creates an additional reason for the Court to adopt Defendants’

argument on the third Gingles precondition. Kavanaugh, p. 4. Defendants’

approach to this precondition operates as a naturally occurring temporal

limitation on the reach of Section 2. Since the passage of the 1982 amendments,

voting patterns have doubtless become far more partisan. But, crucially, as

Plaintiffs’ evidence demonstrates, they have also become less focused on the




                                      18
          Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 20 of 27




race of the candidate so that the race of the candidate is irrelevant in current

Georgia elections.5

          Unlike during the time of Gingles, white voters consistently support

Black and Black-preferred candidates who are nominated in their party’s

primary. Lately, this has been true of both major political parties in Georgia.

Adopting Defendants’ interpretation of the third Gingles precondition anchors

the Act in—as its text dictates—correcting the problem of invidious racial

discrimination that results in a jurisdiction that is not equally open to minority

voters. Over time, the trend may be that the disadvantages associated with

invidious discrimination in elections are addressed to such a degree that

Section 2 no longer need be invoked to ensure “equal openness” to the election

process. Thus, there is no concern about the timing of continuing race-based

districting into the future because a proper interpretation of the third Gingles

precondition addresses that exact concern in a way that preserves not just the

Supreme Court’s decades of jurisprudence interpreting the Act, but the Act

itself.




5 Plaintiffs’ own expert reports make this abundantly clear.



                                        19
       Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 21 of 27




       C.    Failing to adopt the Defendants’ interpretation of the third
             Gingles precondition puts Section 2 on a problematic
             constitutional path.

       While a majority of the Supreme Court approved the ongoing

constitutionality of Section 2, a minority of four justices called it into question.

More importantly, Justice Kavanaugh’s concurring opinion—the fifth vote—

makes abundantly clear that the constitutionality of the law is not at all settled

into the future. And like the broader inquiry into the third Gingles

precondition itself, the question of whether it is appropriate to declare Section

2 unconstitutional because of a temporal limitation was not squarely before

the Court. Kavanaugh, p. 4. Only Defendants’ interpretation of the third

Gingles precondition, consistent with voting patterns in Georgia, helps ensure

Section 2 endures unless and until it is determined, in the wisdom of Congress,

that it has outlived its usefulness.

III.   The totality of the circumstances.

       Section 2 is aimed at equal openness in the political processes of a state.

52 U.S.C. § 10301. Thus, a “district is not equally open, in other words, when

minority voters face—unlike their majority peers—bloc voting along racial

lines, arising against the backdrop of substantial racial discrimination within

the State, that renders a minority vote unequal to a vote by a nonminority

voter.” Roberts, p. 17 (emphasis added). That is the question this Court must


                                        20
       Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 22 of 27




answer under Section 2. If minority voters face voting against the backdrop of

substantial political polarization within a state, their votes are not unequal—

because numerical minorities lose elections. Hall, 512 U.S. at 901 (Thomas, J.,

concurring).

       That is why, unlike what Alabama argued, the totality of the

circumstances is not based on a single circumstance, but must be carefully

weighed by this Court to look for racial discrimination in the Georgia election

system. Roberts, p. 18. And this requires an “intensely local appraisal” and a

“searching practical evaluation.” Roberts, p. 11 (quoting Gingles, 478 U.S. at

79).

       Beyond those points, Allen does not offer any direction to this Court on

how to apply the totality of the circumstances. Accordingly, Defendants rely on

their earlier briefing in opposition to Plaintiffs’ motion for summary judgment

about why that determination is inappropriate at this stage of the case.

                    THE UNANSWERED QUESTIONS

       Despite hopes of further clarifying Section 2 law, the Allen majority

ultimately left a number of unanswered questions that must be addressed

here. The majority made clear that Section 2 required Alabama to divide a

single community of interest to create an additional majority-Black district,




                                      21
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 23 of 27




primarily because a community would be divided either way and it did not

affect the overall plan metrics. Roberts, pp. 12-13.

      While that seems straightforward, much more is at issue in this case,

and Plaintiffs’ approach here would extend the reach of federal law far deeper

into districting decisions by legislatures. For example:

         • Does Section 2 require the division of more counties to create

            additional majority-Black districts? If so, how many and why?

         • Does Section 2 require the state to increase its population

            deviations to create additional majority-Black districts? If so, how

            much and why?

         • Does Section 2 require the state to draw additional majority-Black

            districts even if those districts result in other districts that are

            unexplainable based on traditional districting principles in other

            parts of the state? If so, why, and are there any protections for

            traditional principles in non-majority-Black districts?

         • How many additional districts does Section 2 require? If the

            legislature is able to draw seven additional majority-Black

            legislative districts, does Section 2 require it to keep adding

            districts up to proportionality so long as there are no “tentacles




                                       22
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 24 of 27




            and appendages” (see Roberts, p. 12)? Or is that racial

            gerrymandering?

         • How can this Court determine the nature of the polarized voting

            without more evidence?

      Defendants submit that these questions are where Plaintiffs’ lack of

evidence is most glaring. If Plaintiffs had submitted illustrative plans with the

same population deviation and the same number of split counties, been able to

explain the overall design of the other districts, or provided evidence of racial

voting behavior in primaries, then this case would be more like Allen. But they

have not done so and have not proposed any limiting principle beyond the

districts they challenge—which is not enough for the State to have clarity on

the law of Section 2 moving forward.

                                CONCLUSION

      The Voting Rights Act need not remain forever ambiguous, but Allen

does not offer this Court much assistance with the salient questions before it,

especially given the different arguments made by Alabama and Defendants.

The facts of this case demonstrate that Plaintiffs have failed to carry their

burden regarding material facts necessary to the Gingles preconditions and

that judgment should be entered for Defendants. But if this Court determines




                                       23
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 25 of 27




that there are material facts at issue, it cannot enter summary judgment

against Defendants, but rather should proceed to trial of this case.



      Respectfully submitted this 22nd day of June, 2023.

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                                      24
Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 26 of 27




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                              25
      Case 1:22-cv-00122-SCJ Document 228 Filed 06/22/23 Page 27 of 27




                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Supplemental Brief has been prepared in Century Schoolbook 13, a

font and type selection approved by the Court in L.R. 5.1(B).

                                    /s/Bryan P. Tyson
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                                      26
